Case 20-35493 Document 117-12 Filed in TXSB on 01/11/23 Page 1 of 29

CAUSE NO. 2020-27436-A

CYPRESS MOB, LLC IN THE DISTRICT COURT OF

vs.

HARRIS COUNTY, TEXAS

HUONG LE NGUYEN,
ALEXANDER LU NGUYEN
GUNTHER M. GRONING and

§
§
§
§
§
1960 FAMILY PRACTICE, P.A., §
§
8
§
THU ANH HOANG §

295th JUDICIAL DISTRICT

PLAINTIFF’S FIRST SET OF INTERROGATORIES TO DEFENDANT DOCTORS
HOSPITAL 1997 LP D/B/A UNITED MEMORIAL MEDICAL CENTER

TO: Doctors Hospital 1997 LP d/b/a United Memorial Medical Center, by and through its
attorney of record, Sharlene A. Poyser, 1001 Texas Avenue, Suite 400, Houston, Texas

77002.
WFMC 2016-C34 Northwest Freeway, LLC, as successor in interest to Cypress MOB, LLC,

(“Plaintiff”) serves this First Set of Interrogatories to Defendant Doctors Hospital 1997 LP d/b/a
United Memorial Medical Center (“Defendant”). Pursuant to Rule 197, Texas Rules of Civil
Procedure, Plaintiff propounds the attached First Set of Interrogatories to be answered by
Defendant, such answers to include all of the information called for by such Interrogatories. To
the extent possible, each Interrogatory should be answered in the space below following each
Interrogatory. These Interrogatories shall be answered separately, and under oath, within thirty
(30) days from the date of service thereof. Plaintiff also request that Defendant continue to
supplement answers to these Interrogatories.

The responses should be sent within thirty (30) days of service of this request to Yonatan
Z. Gerber, Gerber & Most, PLLC, 5555 West Loop South, Suite 400, Bellaire, Texas 77401.

Respectfully submitted,

THE GERBER LAW Fir, P.C.

Page 1 of 9
Case 20-35493 Document 117-12 Filed in TXSB on 01/11/23 Page 2 of 29

/s/ Yonatan Z. Gerber

 

Yonatan Z. Gerber

SBN: 24055544

Email: ygerber@thegerberlawfirm.com
5555 West Loop South, Suite 400
Bellaire, Texas 77401

Tel: 832-767-1065

Fax: 832-767-1686

ATTORNEYS FOR PLAINTIFF

CERTIFICATE OF SERVICE

This is to certify that a true and correct of the above and foregoing document has been
served on all counsel of record below via email on, this the 3rd day of February, 2022:

Sharlene A. Poyser

G. Troy Pickett

The Poyser Law Firm

1001 Texas Ave., Suite 400
Houston, Texas 77002

James Q. Pope

The Pope Law Firm

6161 Savoy, Suite 1125
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Sanford Dow

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Katy, Texas 77492
Jeff.superdocs@gmail.com

/s/ Yonatan Z. Gerber

 

Yonatan Z. Gerber

Page 2 of 9
Case 20-35493 Document 117-12 Filed in TXSB on 01/11/23 Page 3 of 29

I. INSTRUCTIONS

In the event Defendant claims that any materials responsive to discovery are confidential
and should be protected from general public disclosure, Defendant’s counsel is requested
to contact Plaintiff's counsel in this regard to obtain an agreement as to the terms of a
Protection Order substantially in advance of the discovery due date, so as not to delay

discovery.

In the event there are objections to any of these interrogatories, the objections are to
conform to Tex. R. Civ. P. 193. If the Defendant makes any objection, it is requested to
specifically state the legal or factual basis for the objection and the extent to which it is
refusing to comply with the request, and to respond to that portion of the discovery which
is not subject to such limitations unless it is unreasonable for the Defendant to do so before

obtaining a ruling on the objection.

Some of the interrogatories within this set may ask the Defendant to identify documents.
While a party typically may send no more than twenty-five interrogatories to another party
as a matter of right, Tex. R. Civ. P. 190.3(b)(3) excludes from this limitation interrogatories
asking a party to identify or authenticate documents.

If applicable, the responding party may answer an interrogatory by specifying and, if
applicable, producing the business or public records or compilation, abstract or summary
of the records. In this event, the records from which the answer may be derived or
ascertained must be specified in detail to permit the party to locate and identify them as
readily as can the responding party. If the Defendant specifies business records, it must
state a reasonable time and place for examination of the documents. The Defendant must
produce the documents at the time and place stated, unless otherwise agreed by the parties
or ordered by the Court and must provide the requesting party a reasonable opportunity to
inspect them. Plaintiff is requesting than any such materials be produced within the above
time period specified for responding to the interrogatories to Counsel for Plaintiff at 5555
West Loop South, Suite 400, Bellaire, Texas, 77401.

For a document that no longer exists or that cannot be located, identify the document, state
how and when it passed out of existence, or when it could no longer be located, and the
reason for the disappearance. Also, identify each person and/or entity having knowledge
about the disposition or loss of the document, and identify any and all other document(s)
evidencing the lost document’s existence or any facts about the lost document.

Where a claim of privilege is asserted in objecting to any interrogatory, or part thereof, and
the requested information are not provided on the basis of such assertion:

Page 3 of 9
Case 20-35493 Document 117-12 Filed in TXSB on 01/11/23 Page 4 of 29

A. in the objection, identify the nature of the privilege (including work product) which
is being claimed and, if the privilege is being asserted in connection with a claim
or defense governed by state law, indicate the state's privilege rule being invoked;
and

B. provide the following information:

(1) for documents: (a) the type of document; (b) a description of the general
subject matter of the document; (c) the date of the document; (d) such other
information as is sufficient to identify the document for a subpoena duces
tecum, including, where appropriate, the author of the document, the
addressee of the document, and where not apparent, the relationship of the
author and addressee to each other; (e) the name, address, and job title of
the person to whom it was addressed or circulated or who saw it; and (f) the
name, job title, and address of the person now in possession of the
document.

(2) for oral communications: (a) the name of the person making the
communication and the names of persons present while the communication
was made, and where not apparent, the relationship of the persons present
to the person making the communication; (b) the date and the place of the
communication; and (c) the general subject matter of the communication.

Any document(s) withheld on a claim of privilege must be preserved. If any document(s)
are so withheld, Plaintiff hereby requests, pursuant to Rule 193.3 of the Texas Rules of
Civil Procedure, that you identify in a privilege list or log each such document and provide
the information set forth in Rule 193.3(b).

In producing documents and materials, you are requested to furnish all documents or things
in your possession, custody, or control, regardless of whether such documents or materials
are possessed directly by you or your directors, officers, partners, members, agents,
employees, representatives, subsidiaries, managing agents, affiliates, investigators, or by
your attorneys or their agents, employees, representatives, or investigators.

This request requires the originals to be produced for inspection and copying, if they exist
and are in your possession, custody, control, or access, including documents within the
possession, custody, or control of your officers, directors, employees, attorneys, agents,
representatives, and other persons or entities who have acted or purported to act on your

behalf.

Documents not otherwise responsive to the discovery requests shall be produced if such
documents mention, discuss, refer to, or explain the documents that are called for by the
discovery request, or if such documents are attached to documents called for by the

discovery request.

Page 40f9
Case 20-35493 Document 117-12 Filed in TXSB on 01/11/23 Page 5 of 29

10. ‘If any document was, but is no longer, in your possession or subject to your control, state
whether it: (a) is missing or is lost; (b) has been destroyed; (c) has been transferred,
voluntarily or involuntarily, to others; or (d) is otherwise disposed of. In each instance
explain the circumstances of such disposition, state the approximate date thereof, and
identify all persons having knowledge of the document’s contents.

11. Please produce all electronic or magnetic data or media in electronic or magnetic form on
compact discs (CDs) or DVDs pursuant to Rule 196.4.

12. Any request or response to any request involving a corporation or other business entity or
any other entity shall also refer to and include any and all parents, subsidiaries, affiliates,
partners, joint venturers, agents, employees, representatives, accountants, investment
bankers, or attorneys acting on behalf of the corporation or other entity.

13. If you cannot answer any interrogatory fully and completely after exercising due diligence
to secure the information necessary to do so, you must so state and answer each such
interrogatory to the full extent you deem possible, specify the portion of each interrogatory
that you claim to be unable to answer fully and completely, state the facts upon which you
rely to support your contention that you are unable to answer the interrogatory fully and
completely, and state what knowledge, information, or belief you have concerning the
unanswered portion of each such interrogatory.

Il. DEFINITIONS

The following definitions will apply throughout these requests, regardless of whether upper or lower-
case letters are used:

1. Plaintiff’ and/or Landlord refers to and/or means WFMC 2016-C34 Northwest Freeway,
LLC, as successor in interest to Cypress MOB, LLC which is the Plaintiff in this cause.

2 “You,” “your” and/or Defendant refers to and/or means Doctors Hospital 1997 LP d/b/a
United Memorial Medical Center which is a Defendant in this cause.

3 “All” means “any and all” and “each and every.”

4, “Communications” means and includes any manner, method, or means of disclosure,
transfer, or exchange of information including, through a third party, whether made by oral
or written utterance, notation, or statement of any nature whatsoever, including but not
limited to documents, correspondence, correspondence, conversations, dialogues,
discussions, interviews, consultations, agreements, and other understandings between or
among two or more persons, whether made face-to-face, or by telephone (including text
messages), telecopier, mail, e-mail, personal delivery, or otherwise.

Page 5 of 9
Case 20-35493 Document 117-12 Filed in TXSB on 01/11/23 Page 6 of 29

“Document” and “Documents” are used herein in the broad sense means and includes, but
are not limited to, the following items within the possession, custody or control of the
Plaintiff, and/or any agent, representative or other person acting or purporting to act on behalf
of the Plaintiff, including but not limited to any attorney(s) acting or purporting to act on
Plaintiff's behalf, whether such items are typed, printed, recorded, reproduced by any
mechanical process, copied or written by hand, or otherwise recorded matter of whatever
character, including but not limited to; contracts; communications; correspondence;
telegrams; memoranda; statements; records; reports; books; summaries and/or records of
telephone conversations; summaries and/or records of personal conversations; diaries;
forecasts; orders; bills; invoices; checks; statistical statements; books of account; studies;
graphs; charts; accounts; work papers; indexes; date sheets; data processing cards; analytical
records; minutes and/or records of meetings and conferences; reports and/or summaries of
interviews; reports and/or opinions of consultants; appraisals; records, reports, and
summaries of negotiations; brochures; lists; periodicals; pamphlets; circulars; electronically
stored information (ESI); trade letters; newspaper clippings; press releases; notes;
projections; drafts of documents; working papers; copies; marginal notations; photographs;
drawings; tape recordings; catalogues, calendars, inter- or intra-office communications,
depositions, answers to interrogatories, pleadings, judgments, newspaper articles; motion
pictures; receipts, any carbon or photographic copies of any such material if you do not have
custody or control of the original; and all other written, printed, recorded or graphic matter
or sound reproductions, however produced or reproduced. The term “document” and
“documents” also means and includes computer-stored or computer-generated data or
computer-readable media of any type or nature whatsoever, including that stored on disks,
hard drives, networks, backup tapes, and printers, and including backup or temporary copies
of any such data. If any document requested to be identified and/or produced was, but is
no longer in existence, state whether it is:

a. Missing or lost;

b. Destroyed;

c. Transferred, voluntarily or involuntarily, to others and, if so, to whom; or

d. Otherwise disposed of; and in each instance explain the circumstances surrounding
an authorization of such disposition hereof, state the approximate date thereof, and

describe its contents.

Page 6 of 9
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11.

12.

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Case 20-35493 Document 117-12 Filed in TXSB on 01/11/23 Page 7 of 29

“Electronically stored information” and ”“ESI” means any Information on operational
systems including accounting, financial, distribution, or manufacturing systems; E-mail;
Instant Messages (IM); Web pages; text messages; cell phone data; Excel spreadsheets and
underlying formulae; metadata; computer databases (i.e., Access); erased, fragmented or
damaged data; Blackberry data; and anything stored on computer or other electronic means
located on or in, but not limited to cache memory; optical disks; magnetic tapes/back-up
tapes; magnetic disks (hard drive, floppy disks, etc.); PDAs, Blackberries and Palm Pilots;
cell phones; IM tools; or USB drives.

“Person” means and includes a natural person or persons, a group of persons acting as
individuals, a group of natural persons acting in collegial capacity, an association,
corporation, partnership, joint venture, firm, proprietorship, governmental body and any
other incorporated or unincorporated business, enterprise, or entity, including all
predecessors or successors in interest, unless otherwise limited herein.

The singular shall, as used herein, shall include the plural, and the masculine shall include
the feminine gender and neutral.

“File” means any collection or group of documents maintained, held, stored, or used
together, including, without limitation, all collections of documents maintained, held, or
stored in folders, notebooks, or other devices for separating or organizing documents.

“Relating to” and “relates to” means, without limitation, embodying, mentioning, or
concerning, directly or indirectly, the subject matter identified in the request.

“Concerning” means, in whole or in part, directly or indirectly, referring to, relating to,
commenting on, responding to, showing, describing, analyzing, reflecting, and
constituting, or being in any way logically connected with the matter discussed.

“Date” means the exact date, month, and year, if ascertainable, or, if not, the best available

approximation.

“Describe” and “identify,” when referring to a person or individual, are defined to require
that you state the following:

a. The full name.

b. The present or last known residential address.

c. The present or last known business address.

d. The present or last known residential telephone number.
e. The present or last known business telephone number.

f. The present occupation, job title, employer, and employer’s address at the time
of the event or period referred to in each particular request.

g. In the case of any person other than an individual, identify the officer,
employee, or agent most closely connected with the subject matter of the

Page 7 of 9
Case 20-35493 Document 117-12 Filed in TXSB on 01/11/23 Page 8 of 29

request and identify the officer who is responsible for supervising that officer
or employee.

14. “Describe” and “identify,” when referring to a document, are defined to require that you
state the following:

a. The nature (e.g., letter, handwritten note) of the document.

b. The title or heading that appears on the document.

c. The date of the document and the date of each addendum, supplement, or
other or addition or change.

d. The identity of the author and of the signer of the document, and of the
person on whose behalf or at whose request or direction the document was

prepared or delivered.

e. The present location of the document, and the name, address, position, or
title, and telephone number of the person or person having custody of the
document.

f. A general description of the document.

15. “Describe” or “Identify” when used in reference to a communication, are defined to require

you to state the following:

a. A description of each communication, including a statement of the date,
place, time and person or persons involved.

b. The identity of the source(s) of the communication, including the date upon
which such communication was made.

16. The word “and” means “and/or.”

21, The word “or” means “or/and.”

Bee “Demised Premises No. 1” means 20320 Northwest Freeway, Suites 500 and 550, Houston,

Texas 77065.

23. “Demised Premises No. 2” means 20320 Northwest Freeway, Suites 800 and 900, Houston,
Texas 77065.

24. “Asset Purchase Agreement means the Asset Purchase Agreement dated effective

September 1, 2019 and attached hereto as Exhibit “A.”
Il, RELEVANT TIME PERIOD

The relevant period, unless otherwise indicated, shall be from January 1, 2018, through the
present, and shall include all documents and information which relate in whole or in part to such
period, or to events or circumstances during such period, even though dated, prepared, generated or
received prior or subsequent to that period.

Page 8 of 9
Case 20-35493 Document 117-12 Filed in TXSB on 01/11/23 Page 9 of 29

PLAINTIFEF’S FIRST SET OF INTERROGATORIES TO DEFENDANT DOCTORS
HOSPITAL 1997 LP D/B/A UNITED MEMORIAL MEDICAL CENTER

INTERROGATORY REQUEST NO. 1:

Identify the name, address and telephone number of the general partner(s) of Doctors Hospital
1997 LP.

RESPONSE:

INTERROGATORY REQUEST NO. 2:

Identify the name, address and telephone number of the limited partners of Doctors Hospital 1997
LP,

RESPONSE:
INTERROGATORY REQUEST NO. 3:

Identify the name, address and telephone number of those persons involved in the negotiations of
the Asset Purchase Agreement.

RESPONSE:

INTERROGATORY REQUEST NO. 4:

Identify the name, address and telephone number of those persons and/or entities who provided
you, your agents and/or representatives with due diligence documents relating to the Asset

Purchase Agreement.
RESPONSE:

INTERROGATORY REQUEST NO. 5:

Identify the name, address and telephone number of the persons and/or entities who reviewed any
due diligence documents relating to the Asset Purchase Agreement.

RESPONSE:

Page 9 of 9
Case 20-35493 Document 117-12 Filed in TXSB on 01/11/23 Page 10 of 29

EXHIBIT A
Case 20-35493 Document 117-12 Filed in TXSB on 01/11/23 Page 11 of 29

LE003463

ASSET PURCHASE AGREEMENT

THIS ASSET PURCHASE AGREEMENT (this “Agreement’) is made and entered into
as of September 1*, 2019, by and among Doctors Hospital 1997 LP d/b/a United Memorial
Medical Center. a Texas limited partnership (“Purchaser”) 1960 Family Practice, PA, a Texas
professional association ( Seller’),
practice which provides

es (the “ Practice”) at 837 Cypress Creek Parkway Suite
. Houston Texas 77065: 3550 Rayford.

Spring. Texas 77386 and 5039 FM 2920. Spring Texas 77388 (the “Practice Locations”);

desires to purchase from Seller the assets of Seller utilized in the

WHEREAS, Purchaser
ell such assets to Purchaser (the “Transaction”,

Practice, and Seller wishes to s

ARTICLE 1. DEFINITIONS

1.1 Definitions. In addition to the other definitions contained in this Agreement, the
following terms will, when used in this Agreement, have the following respective meanings:

Person, any Persons directly or indirectly

controlling, controlled by, or under common control with, such other Person at any time during
the period for which the determination of affiliation is being made. For purposes of this definition,
the term “control” (including the correlative meanings of the terms “controlled by” and “under
common control with”), as used with respect to any Person, means the possession, directly or

indirectly, of the power to direct or cause the directi

“Affiliates” means, with respect to any

“Closing” means the consummation of the transactions contemplated by and described in
& y

Article 2.
“Code” means the Internal Revenue Code of 1986, as amended.

means information, to the extent not considered a Trade

Secret under applicable law, that: (a) relates to the business of the Practice. (b) possesses an
element of value to the Practice. (c) is not generally known to the Practice’s competitors, and (d)
would damage the Practice if disclosed. Confidential Information shall also include information

of any third party provided to the New Practice which the New

“Confidential Information”

LE003463
Case 20-35493 Document 117-12 Filed in TXSB on 01/11/23 Page 12 of 29

LE003464

Practice is obligated to treat as confidential, including. but not limited lo, information provided to
the New Practice by its referral sources or patients. Confidential Information includes. but is not
limited to. (e) future business plans, (f) financial statements. (g) information pertaining to
agreements with third-party payers, (h) contracts with any payer or payee of medical services.
preferred provider organizations, health maintenance organizations, or any other managed care
entities or arrangements, (i) information regarding independent contractors, referral sources, and
patients of the Practice, inc] uding, but not limited to, patient names, patient charts, lists or records.

test results and reports, nurses’ notes, operative notes, diagnoses or treatment plans, case histories,
information, and (j) information concerning the Practice’s or a third

hods and procedures of operation, Confidential Information shall
(k) is or becomes generally available to the public other than as

(1) has been independently developed and disclosed by
party, or (m) otherwise enters

not include any information that:
a result of an unauthorized disclosure,
others without violating this Agreement or the legal rights of any

the public domain through lawful means.

ns (including deed of trust liens, mechanic’s or materialmen’s

“Encumbrances” means lie
ncumbrances, security interests. options, judgments or any

liens and judgment liens), charges, e
other restrictions or third party rights.

e effect) shall mean the actual knowledge, after due
inquiry (unless otherwise indicated herein), of Seller. “Knowledge” as it relates to a party other
than Seller, shall mean the actual knowledge of such party, after due inquiry (unless otherwise
indicated herein). In the absence of due inquiry, a person shall be deemed to have knowledge of
information that would have been discovered by a reasonable inquiry.

“Knowledge of Seller” (or words of lik

statute, ordinance, rule, regulation, directive.

“Law” means any applicable law,
decree or judicial or administrative doctrine that

requirement, code, order. judgment, injunction,
is legally promulgated or issued by any Governmental Entity.

“Liability” shall mean any liability or obligation whether known or unknown, asserted or
unasserted, absolute or contingent, accrued or unaccrued, liquidated or unliquidated and whether

due or to become due.

“Losses” means damages, claims, losses, charges, actions, suits, Proceedings, deficiencies,
interest, penalties and reasonable costs and expenses associated therewith (including reasonable
attorneys’ fees, Proceeding costs, fines, penalties and expenses of investigation), whether asserted

by a party to this Agreement or by a third party.

“Permitted Encumbrance” means (a) any liens evidenced by an Assumed Contract, and
(b) any liens which are not material, which do not interfere with the use of any of the Practice
Assets and which do not secure the obligation to pay amounts; including, those liens or
encumbrances arising out of any capital debt, capital lease or other long-term liabilities of Seller
or the Practice ARE Permitted Encumbrances, except to the extent expressly excluded in this

Agreement.
a corporation, a partnership, a Joint venture, a limited

“Person” means an individual.
dation, a trust or any other entily or organization.

liability company, an association. a foun

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LE003464
Case 20-35493 Document 117-12 Filed in TXSB on 01/11/23 Page 13 of 29

LE003465

“Proceeding” means any claim, action, arbitration, audit, hearing. investigation, litigation
or suit (whether civil, criminal. administrative. judicial or investigative, whether formal or
informal. whether public or private).

“Required Consents” means all consents and waivers, if any.

“Taxes” means any tax. fee. assessment. levy. tariff, charge or duty of any kind whatsoever
and any interest, penalty, addition or additional amount thereon imposed, assessed or collected.
whether disputed or not, by or under the authority of any Governmental Entity or payable under
any tax-sharing agreement or any other agreement or contract.

“Trade Secrets” shall have the meaning set forth in Tex. Civ. Prac. & Rem. Code &§
134A.002(6).

ARTICLE 2, PURCHASE OF ASSETS; ASSUMPTION OF LIABILITIES

2.1 Purchase of Assets. Subject to the terms and conditions contained in this
Agreement, at Closing Seller will sell, convey. assign. transfer and deliver to Purchaser all of its
the Seller’s property and assets, wherever located and utilized in the Practice. in each case as the
same exists on the Closing Date, including, but not limited to the following (collectively, the
“Assets’’):

(a) all equipment and furnishings (including all medical equipment, computers,
and other data Processing equipment) used or usable by Seller in the operation of the Practice and

which is either owned by Seller or leased by Seller under a capital lease, and any warranties related
thereto;

) all commitments. contracts, agreements, operating leases, lease purchase
arrangements and license agreements jn respect of the Practice (collectively, the “Assumed
Contracts’):

@ all inventories, supplies, other current assets and other assets located at or
used in connection with the operation of the Practice:

(d) Purchaser shall sign a lease/sublease agreement for each of the Practice
Locations. r .

22 Excluded Assets. Notwithstanding the provisions of Section 2.1, the Assets shall

nol include any of the following items, all of which are specifically excluded from the Assets
(collectively, the “Exeluded Assets”):

a) all cash. cash equivalents. short term investments and marketable
securities:

0) all of the Seller's accounts receivable (whether receivable from patients or
from third party payors) (the “Practice Receivables”): and

( The name “1960 Family Practice”. and its assumed names,

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LE003465
Case 20-35493 Document 117-12 Filed in TXSB on 01/11/23 Page 14 of 29

LE003466

dd) its tax id number,

@ the following Excluded Assets wi I] be leased to Purchaser at a fair market value

monthly rate:

e Current telephone and fax numbers. Purchaser agrees to use the current
numbers for the Practice for a period of 24 months following the

Closing Date.
¢ Phone and Efax system

e EHR, RIS, PACS and practice management system
¢ IT support for these services and the maintenance of patient records
through legacy EHR.

23 Assumption of Certain Liabilities of Seller.

(a) Purchaser agrees to pay and satisfy all Liabilities of Practices incurred after
the Closing Date. Purchaser is not responsible for Sellers Liabilities prior to the C losing Date.

6) Notwithstanding the foregoing, at Closing, Purchaser will assume and agree

to satisfy the liabilities, including (collectively, the “Assumed Liabilities’):

(i) the obligations arising under and related to the Assumed Contracts

to the extent first arising after the Effective Time;
buyer agrees to sign a lease or sublease for all Practice Locations.
to comply with the terms of the Master/Prime Lease for each

Purchaser agrees
€xecule a personal guaranty for payment of said leases, and

Location and shal]

(iii) any existing contractual or hon-contractual liabilities used in the

operation of the Practice

(iv) Buyer will remain responsible for all obligations and liabilities incurred
from the Closing Date to the termination date,

2.4 Purchase Price.

(a) In consideration of the transfer of Assets to Purchaser, Purchaser aprees to
dred Thousand and No/100 Dollars ($500,000.00) for the purchase of the

pay to Seller Five Hu
Price”), subject to following adjustments and prorations:

Assets (the “Purchase

ption period extending 24 (twenty-four)
months from the closing date (“Option Period”). During the Option Period the

Seller has the right to offer for sale, commit to purchase, or otherwise engage any
other party to purchase the Practice | -ocations and the associated Assets. Seller shall

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(1) Seller shall retain an o
Case 20-35493 Document 117-12 Filed in TXSB on 01/11/23 Page 15 of 29

LE003467

ht of refusal during the Option Period. Upon refusal by
d after the closing of another Purchaser. Seller shall return
inal Purchase Price, and (2) pay an additional 8%. Upon
his agreement shall be terminated.

offer Purchaser first rig
Purchaser to purchase an
to Purchaser (1) the orig
return of Purchase price t

(ii) Seller will maintain an option, exercisable during the Option Period,
fo terminate the Sale with or without cause. This option must be exercised in
writing and within at least (30) thirty days*notice. If the sale is terminated, the
sublease of the locations will also be terminated. Buyer will remain responsible for
all obligations incurred from the Closing Date to the termination date.
Additionally, Buyer acknowledges that by the end of the last day of the notice
period, it (a) no longer has any possessory right to control or use the Practice, assets
or any part of the premises at the leased/subleased locations: and (b) will return to
Seller all keys, security codes, passwords and badges related to the operation of the
Seller. The Seller shall return to Purchaser the original Purchase Price.

(iii) At any time during the Option Period and for an indefinite period
beyond the Option Period. if Purchaser sells Practice business and/or the hospital
business, currently located at 16750 Red Oak Dr., Houston, TX 77090, 837 Cypress
Creek Parkway Suite 105, Houston Texas 77090; 20320 Northwest Freeway, Houston
Texas 77065; 3550 Rayford, Spring, Texas 77386. 5039 FM 2920. Spring Texas 77388 or
a relocated or additional address of businesses, the Purchaser is obligated to

immediately turn over the first $90,000,000.00 (ninety million dollars) to
Providence Hospital of North Houston, LLC. Purchaser shall retain 50% of any
hased amount over the $90,000,000.00 and

remaining amount of the purc
immediately tum over the remaining 50% to Providence Hospital of North

Houston, LLC. Purchaser acknowledges the Practice and hospital business refers
to the current locations and to any relocation or additional location of said
businesses. Purchaser acknowledges and agrees that the terms stated herein are
binding and shall survive. regardless of what entity is then operating the businesses

or where the businesses are located,

b) Purchaser shal] pay the Purchase Price on the earlier of. the date this
Agreement is signed or on the date of Closing, by cashier’s check or by wire transfer to an account
designated in writing by Seller: provided, however, that if the Closing Date falls on a banking
holiday. Purchaser shall pay the Purchase Price on the next business day which is not a banking

holiday.

Purchase Price shall be allocated among the acquired Assets, The
plying with Section 1060( b) of the Code and
ill not

( The
parties shall use such allocation for purpose of com
for filing Form 8954 with the Internal Revenue Service. and the parties agree that they w

take or cause to be taken any action that would be inconsistent with such allocation.

Assignment of Contracts. Notwithstanding any provision of this Agreement to the contrary, to
the extent that any contract to be assigned to Purchaser hereunder requires the waiver or consent
of any other party, and such waiver or consent has not been obtained but whose benefits are being
enjoyed by Purchaser. the contract shall be considered an Assumed Liability of Purchaser . In the

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5
LE003467
Case 20-35493 Document 117-12 Filed in TXSB on 01/11/23 Page 16 of 29

LE003468

aining such waiver or consent, Seller and Purchaser agree

event that the Closing occurs without obt
ver or consent to the assignment of

(o use their reasonable best efforts to obtain the necessary wai
any such contract.

ARTICLE 3. CLOSING

Closing. Closing will take place at the offices of the Seller on September |, 2019

or such other date as the parties may agree upon (the “Closing Date”).. Closing will be deemed to
have become effective at 12:0] a.m.. local time. on the Closing Date (the “Effective Time”).

g- At Closing and unless otherwise waived by

32 Actions by Seller at Closin
be delivered to Purchaser the following:

Purchaser. Seller will deliver or shall cause to
(a) such other instruments and documents as are reasonably requested by
Purchaser in connection with the consummation of the Transaction or to satisfy the conditions

precedent to Purchaser’s obligations hereunder.

ser at Closing. At Closing and unless otherwise waived by

a3 Actions by Purcha
use to be delivered, to Seller the following:

Seller, Purchaser will deliver. or ca

struments and documents as are reasonably requested by Seller

(a) such other in
on of the Transaction or to satisfy the conditions precedent to

in connection with the consummati
Seller’s obligations hereunder.

ARTICLE 4. REPRESENTATIONS AND WARRANTIES OF SELLER

As of the date hereof and (except as otherwise expressly stated herein) as of the Closing
Date, Seller hereby makes the representations and warranties to Purchaser set forth below,

41 Capacity and Authority. Seller is a professional association, duly organized and
validly existing under the laws of the State of Texas. Seller has the requisite corporate power and
authority to enter into this Agreement and the other documents contemplated hereby, to perform
its obligations hereunder and thereunder, and to conduct its business as now being conducted.
Seller’s execution, delivery and performance of this Agreement and the other documents
contemplated hereby, and the consummation by Seller of the transactions contemplated hereby
and thereby, are within Seller's powers and have been duly authorized by all appropriate action.
This Agreement and the other documents to be executed and delivered by Seller have been or will

be duly executed and delivered by Seller, as the case may be.

with Other Agreements, Etc. The execution.

42 Consents; Absence of Conflicts
eement hereby: (a) will not conflict with any

delivery and performance by Seller of the Agr
provision of Seller’s organizational documents; (b) will not violate, conflict with or constitute on

the part of Seller a breach of or a default under, or require approval or consent of any Person under,
any Law, Governmental Authorization, material contract, agreement, indenture, morigage or lease
to which Seller. the Practice, or any of the Assets may be subject; and (c) will not create any

Encumbrance on any of the Assets.

43 Binding Effect. This Agreement is and will constitute the valid and legally binding

obligation of Seller, and is and will be enforceable

44 Financial Statements and Contracts. Seller will deliver to Purchaser a sample

° LE003468
os 9
Case 20-35493 Document 117-12 Filed in TXSB on 01/11/23 Page 17 of 2

LE003469

schedule of Practices’ monthly expenses Exhibit B. Seller will make available to Purchaser Irue

and complete copies of Assumed Contracts.

45 Regulatory Compliance. Seller is in compliance with all Laws of all Governmental

Entities having jurisdiction over the Practice and its operations.

46 Equipment and Other Assets,

(a) The Assets constitute all assets, properties and leasehold estates in the

operation of the Practice, except for the Excluded Assets, All of the personal property owned or
condition and repair, free from

leased by Seller under an Assigned Contract is in good operating
€ use thereof in the conduct of

any defects (except such minor defects as do not interfere with th
the normal operations), ordinary wear and tear excepted. have been maintained consistent with the

standards generally followed in the industry.

saleable in a manner consistent with past

(b) All inventories are usable and
cient to operate the Seller's Business in the

practices and industry standards and are at levels suffi
ordinary course.

47 Employee Relations,

(a) As used herein, the term “Employee” means, collectively, each Person, who on the
Effective Date of this APA, is an employee of Seller and any other person listed on Exhibit

A attached hereto who Provides services for Seller,

() On the Effective Date of this APA, or other date mutually agreed upon to allow
for a smooth transition, Seller will terminate the employment of each of the Employees.
Purchaser will offer employment to each Employee. As used herein, “Hired Employee”
means each Employee who accepts Purchaser’s offer of employment described above.
Notwithstanding the foregoing, nothing in this Agreement will be deemed to require
Purchaser to retain any Hired Employee for a certain period of time but Purchaser must be
compliant with the WARN ACT and provide a 60 day notice to those employees being

terminated,

(©) The Hired Employees will be offered employment at a salary comparable to their
current salary with Seller. The Hired Employees will be eligible to participate in Purchaser's
employee benefit plans in accordance with the terms of such plans as amended from time to
time. Hired Employees will be given credit for their existing earned but unused PTO and

given credit for their full-time peri

(d) During the Option Period, if the Purchaser intends to end the employment of a
Hired Employee that would make $60,000.00 or more annually, Purchaser wil] notily
Seller's administrator of the intent to terminate for administrators’ mutual consent. The
administrator for Seller shall be Stacy Williams, Seller shall notify Purchaser of any

change of administrator.

; LE003469
Case 20-35493 Document 117-12 Filed in TXSB on 01/11/23 Page 18 of 29

LE003470

REPRESENTATIONS AND WARRANTIES OF

ARTICLE §,
PURCHASER

As of the date hereof and (except as otherwise expressly stated herein) as of the Closing

Date. Purchaser represents and warrants to Seller as follows:

SI Capacity and Authority. Purchaser is a limited partnership, duly organized and
validly existing in good Standing under the laws of the State of Texas. Purchaser has the requisite
corporate power and authority to enter into this Agreement and the other documents contemplated
hereby, to perform its obligations hereunder and thereunder, and to conduct its business as now
being conducted. Purchaser's execution, delivery and performance of this Agreement and the other
documents contemplated hereby, and the consummation by Purchaser of the transactions
contemplated hereby and thereby, are within Purchaser’s Powers and, subject to the receipt of
approvals contemplated under Section 8.7, have been duly authorized by all appropriate action.
Purchaser, its representatives, and agents shall owe a fiduciary duty to Seller and its members to operate
the Practice and to use and manage Sellers Assets in good faith with the utmost business judgement.
Purchaser shall not encumber, mortgage, cause a lien to attach to, commit waste, transfer, or convey any of

the Sellers Assets during the Option Period.

52 Consents; Absence of Conflicts with Other Agreements, Ete. Purchaser’s
execution, delivery and performance of this Agreement and the other documents contemplated
hereby, and the consummation by Purchaser of the transactions contemplated hereby and thereby:
(a) except as otherwise expressly provided herein, do not require any approval or consent of. or
any declaration or filing with, any Governmental Entity which is required by Law; and (b) will not
violate, contravene, conflict with or constitute on the part of Purchaser a breach of or a default
under the respective articles of organization and operating agreement of Purchaser, any existing
Law, or any material agreement, indenture, mortgage or lease to which Purchaser is subject.

other agreements to which Purchaser wil]
valid and legally binding obligations of
chaser in accordance with the respective

3 Binding Effect. This Agreement and any
become a party hereunder are and will constitute the
Purchaser and are and will be enforceable against Pur

terms hereof and thereof.
PRE-CLOSING COVENANTS OF SELLER

ARTICLE 6.
Gl Operations. Between the date of this Agreement and the Closing Date, Seller
shall:
(a) carry on the business of the Practice in substantially the same manner as
y material change in any operations, finance.

has heretofore been conducted and not make an
accounting policies or real or personal property
expressly required by this Agreement:

(b) at Seller’s expense, maintain the Assets in as good working order and
condition as at present, ordinary wear and tear excepted:

relating to the Practice, except as otherwise

maintain and preserve the business organization of the Practice intact. retain
nt terminations in accordance with past practices

(c)

employees at the Practice (except for employme
8
LE003470
Case 20-35493 Document 117-12 Filed in TXSB on 01/11/23 Page 19 of 29

LE003471

(d) notify Purchaser of any known event or circumstance or combination of
events or circumstances that is reasonably likely to have a material adverse effect on the Seller or
the Practice or would cause or constitute a breach of any of the Seller's representations, warrants,
or Covenants contained herein: and

(e continue to cooperate with Purchaser’s ongoing diligence investigation of
p going dilig g

the Practice and Assets.

his Agreement and the Closing Date,
over which Seller has control to be
efore Closing.

62 Closing Conditions. Between the date of th
Seller will cause the conditions specified in Articles 8 and 9
satisfied as soon as reasonably practicable, but in all events b

ARTICLE 7. PRE-CLOSING COVENANTS OF PURCHASER

CONDITIONS PRECEDENT TO OBLIGATIONS OF
PURCHASER

hereunder are, subject to the satisfaction, on or prior to the
ions, unless waived by Purchaser:

ARTICLE 8.

The obligations of Purchaser
Closing Date, of the following condit
Warranties and Covenants. The representations and warranties

of Seller contained in this Agreement will be true in all material respects when made and on and
as of the Closing Date (or the date otherwise specified herein) as though such representations and
warranties had been made on and as of such date, except for those representations and warranties

qualified by materiality, which shall be true in all respects.

al Representations,

82 Actions or Proceedings. No Proceeding will have been instituted and remain in
eftect seeking to restrain or prohibit the transactions contemplated hereby: and no Governmental
Entity will have taken any other action or made any request of Purchaser or Seller, or their
respective agents, as a result of which Purchaser reasonably and in good faith deems it inadvisable

to proceed with the transactions contemplated hereby.

8&3 Diligence; No Material Adverse Change. Purchaser shall be satisfied with the
results of its diligence investigation of Seller, the Practice and the Assets. and between the date
hereof and the Closing Date, there shall not have been any event, circumstance, change or effect
that, individually or in the aggregate. had or likely will have a material adverse change or affect on
the Assets, business. prospects, financial condition or results of operations of Seller or the Practice.

9
LE003471
Case 20-35493 Document 117-12 Filed in TXSB on 01/11/23 Page 20 of 29

LE003472

CONDITIONS PRECEDENT TO OBLIGATIONS OF
SELLER

The obligations of Seller are, at the option of Seller, subject to the Satisfaction, on or prior
to the Closing Date, of the following conditions unless waived by Seller:

ARTICLE 9.

Representations,
Purchaser contained in this Agreement will be true in all material respects when made and on and

as of the Closing Date (or the date otherwise specified herein) as though such representations and
warranties had been made on and as of such date, except for those representations and warranties
qualified by materiality, which shall be true in all respects; and each and all of the terms, covenants
and conditions of this Agreement to be complied with or performed by Purchaser on or before the
Closing Date pursuant to the terms hereof will have been duly complied with and performed in all

respects,

9.1 Actions or Proceedings. No Proceeding before any Governmental Entity will have
been instituted or threatened to restrain or prohibit the transactions contemplated hereby; and no
Governmental Entity will have taken any other action or made any request of Seller or Purchaser
as a result of which Seller reasonably and in good faith deems it inadvisable to proceed with the

transactions contemplated hereby,

ARTICLE 10. OTHER COVENANTS AND AGREEMENTS

10.1 Trade Secrets and Confidential Information.

grees that it/he will not use, disclose, or reverse engineer the

Trade Secrets or the Confidential Information for any purpose other than in connection with the
medical practice formerly operated by Seller which shall be operated by Purchaser (such continued
operations to be referred to as the “New Practice’), except as authorized in writing by Seller or its
Affiliate. The obligations under this Section 10.1 shall remain in effect as long as the information
constitutes Confidential Information or a Trade Secret. The confidentiality, property, and
proprietary rights protections available in this Agreement are in addition to. and not exclusj ve of,
any and all other rights to which Purchaser is entitled under any other contracts or federal and state
law, including, but not limited to, rights provided under copyright laws, trade secret and

confidential information laws, and laws concerning fiduciary duties.

(a) Purchaser a

(b) In the event Purchaser breaches any portion of Section 10.1

Above during the Option Period, nothing contained in this Agreement shall limit
Sellers’s right to any remedies at law or in equity. If Purchaser breaches any portion of Section
10.1 above. Purchaser agrees that: (i) Seller would suffer irreparable harm; (ii) money damages
alone would be an inadequate remedy for the injuries suffered by Seller; and (iii) if Seller seeks
injunctive relief to enforce Section 10.1 above. Purchaser shall waive and shal] not: (A) assert any
defense that Seller has an adequate remedy at law with respect to the breach, (B) require that Seller
submit proof of the economic value of any Trade Secret or Confidential Information, or (C) require

Seller to post a bond or any other security.

‘0 LE003472

Warranties and Covenants. The representations and warranties of
Case 20-35493 Document 117-12 Filed in TXSB on 01/11/23 Page 21 of 29

LE003473

enants set forth in Section 10.1 of this Agreement shal] be construed
of (i) any other agreements. or (ii) any other provision in this
Agreement, and the existence of any claim or cause of action by Purchaser against Seller, whether
predicated on this Agreement or otherwise. regardless of who was at fault and regardless of any
claims that either Seller or Purchaser may have against the other, shall not constitute a defense to
the enforcement by Seller of any of the covenants set forth in Section 10.] of this Agreement.
Seller shall not be barred from enforcing any of the covenants set forth in Section 10.1 of this
Agreement by reason of any breach of (i) any other part of this Agreement. or (ii) any other

agreement with Purchaser.

(c) The cov
as an agreement independent

to be unreasonable, arbitrary, or
isible with respect to scope, time,
area, or all of them. as a court of
ary, and not against public policy,

(d) If any covenant in Section 10.1 is held
against public policy, such covenant will be considered to be div
and geographic area. and such lesser scope, time, or geographic
competent jurisdiction may determine to be reasonable, not arbitr.
will be effective. binding, and enforceable against Purchaser,

Agreement”, shall remain in full force and
entiality Agreement, except as expressly
any Person any of the terms, conditions or
the status thereof; provided, however, that
fficers and advisors who need to know the

10.2 Confidentiality. This “Confidentiality
effect. In addition to the covenants in the Confid
contemplated hereunder, neither party will disclose to
other facts with respect to the Transaction, including

each party may disclose such information (i) to its o
same for the sole purpose of evaluating the Transaction and also have been informed of the

confidential nature of the Confidential Information and have been directed to hold such

information in strict confidence and to use such information solely for the Purposes permitted

hereunder, (ii) to third parties in connection with obtaining Required Consents, and (ili) to the
extent required under applicable Law. Notwithstanding any provision to the contrary in the
Confidentiality Agreement, Seller authorizes Purchaser and its representatives to disclose
information regarding the Transaction with Seller's employees in a manner mutually acceptable to

Seller and Purchaser that will not be disruptive to current operations.

10.3 Access. Purchaser may continue its due diligence review and investigation of Seller
including its business, assets and liabilities. Seller shall provide Purchaser and its representatives
with copies of, and/or reasonable access to, all information requested by Purchaser relating to the
operations, assets and financial condition of Seller, together with reasonable access to the
management and employees of Seller, for the purpose of conducting such due diligence. Purchaser
and its representatives will use good faith efforts to conduct due diligence in such manner as to
minimize any disruption to Seller's business. The parties shall cooperate with one another jn the

due diligence process.
10.4 Books and Records.

(a) After the Closing Date. Purchaser will maintain in the ordinary course of
business all books and records of the Practice which relate to the post-Closing business, operations
and affairs of the Practice, and Seller will maintain in the ordinary course of business all such

books and records which relate to the pre-Closing business.
10.5 Further Assurances, After Closing, and without further consideration, each party

shall. at the request of the other party, execute and deliver such further documents and instruments
of conveyance, assignment, and transfer and shall take such further reasonable actions as may be

a” LE003473
Case 20-35493 Document 117-12 Filed in TXSB on 01/11/23 Page 22 of 29

LE003474

pinion of the requesting party, lo consummate the

necessary or desirable. in the reasonable o
rry out the intent of this Agreement.

transactions contemplated hereunder or to ca

10.6 Risk of Loss. Seller wil] bear all risk of loss. destruction or damage to any of the
Asseis occurring prior to Closing, whether due to fire, accident or other casualty, willful act,
condemnation, riot. act of God or otherwise, and Purchaser will have no responsibility with respect
thereto. Purchaser will bear all risk of loss. destruction or damage to any of the Assets occurring
post Closing, whether due to fire, accident or other casualty, willful act, condemnation, riot, act of
God or otherwise, and Seller will have no responsibility with respect thereto.

ty. From and after the date hereof, neither party shall publish any press
nsactions contemplated

Seller and Purchaser.

10.7. Publici
release or make any other public communications with respect to the tra

hereby and the method of release thereof unless mutually agreed upon by
ARTICLE 11, INDEMNIFICATION
‘ indemnifies and holds harmless

11.1 Indemnification by Seller. Seller hereby
Purchaser against any Losses suffered by Purchaser arising out of or resulling from:

@)

in this Agreement or any of the Transaction Documents;

the breach or failure of any representation or warranty of Seller contained

(b) the breach or nonfulfillment of any agreement or covenant of Seller

contained in this Agreement or any of the Transaction Documents; or

liability, Encumbrance (other than Permitted Encumbrances),
obligation, claim against or contract of Seller, its Affiliates, Shareholders or the Practice, of any
kind or nature whatsoever, and at any time existing or asserted, whether or not accrued. whether
fixed, contingent or otherwise, whether known or unknown, and whether or not recorded on the
books and records of Seller or otherwise disclosed to Purchaser, due to or arising by reason of any
transaction or event occurring prior to Closing, which is not an Assumed Liability; or

(c) any

(d) any Retained Liability; or

© any Excluded Asset; or

act of commission or omission of Seller. its Affiliates, any Shareholder

® = any
pective employees, officers, agents or independent contractors, prior to

or the Practice, or their res
Closing; or
(g) the use, operation or maintenance of the Assets or the Practice prior to

Closing: or

(h) any claim for brokerage commission or finder’s fee asserted by any

person, firm or corporation claiming to have been engaged by Seller.
12 Indemnification by Purchaser, Purchaser will indemnify and hold harmless
Seller against any Losses suffered by Seller arising out of or resulting from:

the breach or failure of any representation or warranty of Purchaser

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12
LE003474
Case 20-35493 Document 117-12 Filed in TXSB on 01/11/23 Page 23 of 29

LE003475

contained in this Agreement or in any of the Transaction Documents; or

(b) the breach or nonfulfillment of any agreement or covenant of Purchaser
contained in this Agreement or in any of the Transaction Documents; or

(c) any Assumed Liability; or

(d) any act of commission or omission of Purchaser. or its employees, officers,

agents or independent contractors, subsequent to Closing; or

the use, operation or maintenance of the Assets or the Practice by Purchaser

@
after the Closing; or

(6 any claim for brokerage commission or finder’s fee asserted by any person.

firm or corporation claiming to have been engaged by Purchaser.

113) Survival.

(a) Each of the covenants set forth in this Agreement will survive the Closing

in accordance with its terms,

(b) Notwithstanding anything herein to the contrary, the rights and remedies
under this Article 11 with respect to any Proceeding (including, without limitation, recovery of
Losses in respect thereof) for which notice has been given prior to the applicable Representation
Survival Date will survive until such Proceeding has been resolved.

11.4 Limitations.

(a) As used in this Article 11, the term “Losses”
paid or incurred and does not include any amounts recovered from a

or third party obligor.

include only losses actually
ny surety, insurance carrier.

(b) Notwithstanding anything contained herein to the contrary, (i) Seller not be

required to make any indemnification payment pursuant to Section |1.1(a) of this Agreement with

respect to Losses.
@ During the Option Period, Purchaser, its representatives, and agents shall owe a

fiduciary duty to Seller and its members to operate the Practices and to use and manage the Sellers Assets
in good faith and with the utmost business judgment. Purchaser shall not encumber, mortgage, cause a lien
to attach to, commit waste, transfer, or convey any of the Sellers Assets during the Option Period

ARTICLE 12. TERMINATION

12.1. Termination. This Agreement may be terminated at any time during the Option

Period as follows:
(a) by the mutual consent of Purchaser and Seller;

ller if a material breach of this Agreement has been committed by
as not been cured (to the extent curable) to the reasonable satisfaction

13
LE003475

(b) by Se
Purchaser and such breach h
Case 20-35493 Document 117-12 Filed in TXSB on 01/11/23 Page 24 of 29

LE003476

breach then Seller can give a 15 (fifteen) day termination notice to Purchaser;

(c) Seller can terminate this agreement without cause with a 30 (thirty) day

written notice to Purchaser

(d) _ by Seller, upon notice to Purchaser. if between the date hereof and the
Closing Date there has occurred (or been discovered) any event, condition or change in the
operations of the Purchaser. or in the financial condition. assets, liabilities (contingent or
otherwise) or income of Purchaser, which, individually or in the aggregate, results in or is
reasonably likely to result in a material adverse effect on the assets. operations, results of

operations, or financial condition of Purchaser taken as a whole: or

12.2. Effect of Termination. In the event of any termination of this Agreement, as
provided by Section 12.1 or Section 2.4 , this Agreement will thereupon become void and of no
effect, no party will have any further rights or obligations hereunder, and no party will have any
lability to any other party arising out of such termination except those obligations and rights as
stated herein. Upon termination, Seller shall return the Purchase Price to Purchaser. Purchaser
acknowledge that termination of this Agreement for a breach in no way limits the causes of actions

or remedies available to Seller under the applicable law.

ARTICLE 13. IN GENERAL

131 Costs. Whether or not the transactions contemplated hereby are consummated and
except as otherwise expressly provided herein, each party will be responsible to pay its own costs
and expenses incurred in connection with proceeding with the Transaction, including, but not
limited to, any legal fees incurred by such party. Purchaser or its Affiliate will pay the costs and
expenses of consultants and advisers jointly engaged by Purchaser or its Affiliate, on the one hand.
and Seller, on the other hand. Seller shall timely pay all sales, transfer or similar taxes required to
be paid by reason of the sale by Seller to Purchaser of the Assets pursuant to this Agreement.

notice, demand or communication required, permitted or desired to
be given hereunder will be in writing and will be deemed effectively given when personally
delivered, when received by telegraphic or other electronic means (including telecopy and telex)
or overnight courier, or five (5) days after being deposited in the United States mail. with postage
prepaid thereon, by certified or registered mail, return receipt requested, addressed as follows:

B2 Notices. Any

1960 Family Practice

Attn: Huong T Le. President
20320 Northwest Freeway Ste 900
Houston, Texas 77065

if to Seller:

with copies to: huonglemd ay ahoo.com

hlemad tcnyahou.com

14
LE003476
Case 20-35493 Document 117-12 Filed in TXSB on 01/11/23 Page 25 of 29

LE003477

imagingSO@ live.com

slacy. williams@immsonline.net

hkhemkal @eunmsonline.net

 
 

if to Purchaser:

with copies to:

or to such other address. and to the attention of such other Person or officer as any party may

designate by notice given in like manner.

133 Schedules and Other Instruments. Each Schedule, each certificate provided
hereunder and each written disclosure required hereby is incorporated by reference into this
Agreement and will be considered a part hereof as if set forth herein in full; provided, however,
that information set forth on any Schedule, certification or written disclosure constitutes a
representation and warranty of the party providing the same, and not the mutual agreement of the
Parties as to the facts therein stated. Any Schedule may be amended after the date hereof only on

the mutual written consent of the parties.

BA Choice of Law. This Agreement will be governed by and construed in accordance
with the laws of the State of Texas without regard to its principles of conflicts of laws.

135 Benefit; Assignment. Subject to express provisions herein to the contrary, this
Agreement will inure to the benefit of and be binding upon the parties hereto and their respective
legal representatives, successors and permitted assigns, and the rights and obligations of the parties
hereunder will survive the sale or other transfer of substantially all of the assets of any party ora

change in control of any party. Purchaser may not assign any of its rights or obligations under this
Agreement without the express written consent of Seller. Seller may assign all or part of its rights
and obligations hereunder to an Affiliate of Seller, including but not limited to Minh C Nguyen,

MD or Huong T Le, MD.

136 No Rights in Third Parties. Nothing contained in this Agreement will be
construed as giving rise to any right to enforce its provisions to any Person not a party to this

Agreement under any legal theory.

137 = Waivers and Consents. Any waiver of any provision of this Agreement and any
consent given hereunder must be in writing signed by the party sought to be bound. The waiver by
any partly of breach or violation of any provision of this Agreement will not operate as, or be
construed to constitute. a waiver of any subsequent breach or violation of the same or any other

provision hereof.
138 = Interpretation. In the event any provision of this Agreement is held to be invalid.

15
LE003477
Case 20-35493 Document 117-12 Filed in TXSB on 01/11/23 Page 26 of 29

LE003478

illegal. or unenforceable for any reason and in any respect. such invalidity, illegality, or
unenforceability will in no event affect. prejudice, or disturb the validity of the remainder of this
Agreement, which will be and remain in full force and effect, enforceable in accordance with its
terms. Inasmuch as this Agreement is the result of negotiations among sophisticated parties of
equal bargaining power represented by counsel, no inference in favor of. or against, any party will
be drawn from the fact that any portion of this Agreement has been drafted by or on behalf of such
party. The Article and Section headings of this Agreement are for convenience of reference only
and do not form a part hereof and do not in any way modify, interpret or construe the intention of

the parties.

139 Entire Agreement; Amendment. This Agreement together with any other
agreements expressly contemplated hereby supersede all previous agreements (except for the
Confidentiality Agreement, which shall continue to be in effect) and constitute the entire
agreement of whatsoever kind or nature existing among the parties representing the within subject
matter, between Seller and Purchaser, and no party will be entitled to benefits other than those
specified herein and therein. The Parties specifically acknowledge that in entering into and
executing this Agreement and any other agreements specifically referenced herein or therein, the
parties rely solely upon the representations and agreements contained herein and therein and no
others. All prior representations or agreements, whether written or oral, not expressly referenced
herein are superseded unless and until made in writing and signed by the party sought to be charged
therewith. This Agreement may be amended, and the terms hereof may be modified, only by a
writing executed by each party hereto, and any matter referred to herein as mutually agreed to or

designated by the parties must be evidenced by such a writing.

1310 Counterparts. This Agreement, and any document or instrument required or
permitted hereunder, may be executed in counterparts, each of which will be deemed an original

and all of which together will constitute but one and the same instrument.

8 LE003478
Case 20-35493 Document 117-12 Filed in TXSB on 01/11/23 Page 27 of 29
LE003479

IN WITNESS WHEREOF. the parties have caused this Agreement to be executed by
their duly authorized officers, all as of the date and year first above written.

SELLER: PURCHASER:

1960 Family Practice, PA Doctors Hosital 1997 LP d/b/a United
Memorial Medical Center

Huong f7L¢/M.D. () SyedRizwanMehiuddn RAVI MALLAPUIZA M4
President Its Mavaaineg, Director

(\\y lad, os 16/2014

Date Date / :

LE003479
Case 20-35493 Document 117-12 Filed in TXSB on 01/11/23 Page 28 of 29

LE003480

E I ibi

Employees

[See attached]

LE003480
Case 20-35493 Document 117-12 Filed in TXSB on 01/11/23 Page 29 of 29

LE003481

Exhibit B
Sample Schedule of Monthly Expenses

[See attached]

19
LE003481
